Case 1-Ly-45910-€SS DOC O/ Filed Oo/Ll/c0

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FRENKEL LAMBERT WEISS WEISMAN & GORDON, LLP

June 11, 2020

Hon. Elizabeth S. Stong

United States Bankruptcy Court
Eastern District of New York

Conrad B. Duberstein U.S. Courthouse
271-C Cadman Plaza East

Brooklyn, NY 11201-1800

Re: Krichevsky, Michael
Chapter 11 Case No: 19-43516-ess
Our File No.: 01-092846-B00

Dear Judge Stong:

My office represents Select Portfolio Servicing, Inc. as servicer for U.S. Bank N.A., successor trustee to Bank of America,
N.A., successor in interest to LaSalle Bank N.A., on behalf of the holders of the WaMu Mortgage Pass-Through Certificates,

Series 2005-ARI15.

My office intends to appear at the Case conference on June 12, 2020 which the U.S. Trustee has confirmed is going forward.

The information regarding appearing counsel from Frenkel Lambert is:

Elizabeth Doyaga, Esq. Representing Select Portfolio Servicing, Inc. as servicer for U.S. Bank N.A., successor trustee to
edoyaga@flwlaw.com Bank of America, N.A., successor in interest to LaSalle Bank N.A., on behalf of the holders of the

entered Vorlif/2O 14701750

BANKRUPTCY DEPT.
53 GIBSON STREET
BAY SHORE, NY 11706
TEL: (631) 969-3100
FAX: (631) 982-1459

WaMu Mortgage Pass-Through Certificates, Series 2005-AR15.

Should the Court or any party have any questions, please do not hesitate to contact me.

Very truly yours,
Frenkel Lambert Weiss Weisman & Gordon, LLP

By: /s/ Elizabeth Doyaga
Elizabeth L. Doyaga, Esq.

Counsel for Creditor

ONE WHITEHALL STREET, 207TH FL. e NEW YORK, NY 10004. e TEL: (212) 344-3100
80 MAIN STREET, SUITE 460 e WEST ORANGE, NJ 07052 e TEL: (973) 325-8800
ONE EAST BROWARD BLVD. SUITE 1430 e FT. LAUDERDALE, FL. 33301 e TEL: (954) 522-3233

 

 

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